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  8                          UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
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 11     AL OTRO LADO, INC., et al.,                     Case No. 17-cv-02366-BAS-KSC
        Plaintiffs,
 12                                                     ORDER GRANTING EX PARTE
                                                        MOTION FOR ORAL
 13                                                     ARGUMENT
               v.
 14                                                     [ECF No. 241]
        KIRSTJEN NIELSEN, Secretary of
 15     U.S. Department of Homeland
        Security, in her official capacity, et al.,
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 17
                                      Defendants.
 18
 19          Plaintiffs have filed an unopposed ex parte motion for oral argument on
 20   Defendants’ partial motion to dismiss the Second Amended Complaint. (ECF No.
 21   241.) The Court had already intended to schedule oral argument on Defendants’
 22   motion, but had not yet issued an order before Plaintiffs filed their motion.
 23   Accordingly, the Court GRANTS Plaintiffs’ ex parte motion.              Subject to
 24   rescheduling based on the Court’s calendar, the parties are ORDERED to appear,
 25   through counsel, for oral argument in Courtroom 4B on May 10, 2019 at 10:00
 26   a.m.
 27          IT IS SO ORDERED.
 28   DATED: March 26, 2019

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